680 F.2d 47
    4 Ed. Law Rep. 1075
    John RUSS, Plaintiff-Appellant,v.Charles R. WHITE, William Southard, James Mosely, Mrs. GuinnDaniel, David Whittington, Gene Parker, RayDonathan, Mrs. T. J. Collier, AlroyPuckett, and Gerald Fisher,Defendants-Appellees.
    No. 81-2145.
    United States Court of Appeals,Eighth Circuit.
    Submitted May 18, 1982.Decided June 1, 1982.
    
      Debra K. Hutchens, Byron Freeland, Mitchell, Williams &amp; Selig, Little Rock, Ark., for plaintiff-appellant.
      Richard H. Wootton, Richard L. Slagle, Wootton, Land &amp; Matthews, Hot Springs, Ark., for defendants-appellees.
      Before ROSS, ARNOLD and JOHN R. GIBSON, Circuit Judges.
      PER CURIAM.
    
    
      1
      This is an action under 42 U.S.C. § 1983 brought by Dr. John Russ, formerly Dean of Instruction at Garland County Community College in Hot Springs, Garland County, Arkansas, against Dr. Gerald Fisher, President of the College, and the members of the College's Board of Trustees.  Plaintiff's principal claims are that he was discharged as a result of his exercise of rights of free speech secured by the First and Fourteenth Amendments, and that his property (that is to say, his job) was taken from him without due process of law.  In support of the second claim, plaintiff urges that certain business relationships among two of the trustees and the President of the College created such a conflict of interest that the hearing given plaintiff by the Board of Trustees was not impartial.
    
    
      2
      The District Court,1 after a non-jury trial, filed a detailed opinion holding for defendants.  It found that plaintiff's conduct and utterances were significantly disruptive of good order at the College, and that the hearing given him was fair and impartial for present purposes.  These findings are not clearly erroneous, and we see no error of law in the District Court's opinion.  We do not read that opinion as holding that school administrators as a class have no First Amendment right to express opinions on school policy, but rather as concluding, on this record, that Dr. Russ's discharge did not result from any protected activity on his part.  We are in basic agreement with the District Court, and we affirm its judgment substantially for the reasons stated in its opinion.  See 8th Cir. R. 14.
    
    
      3
      Costs will be assessed against appellant, but, in accordance with the view of a majority of the Court, that portion of costs attributable to appellees' choice to print their brief, instead of reproducing it by a less expensive method, will not be allowed.
    
    
      4
      Affirmed.
    
    
      
        1
         The Hon. Oren Harris, Senior United States District Judge for the Eastern and Western Districts of Arkansas
      
    
    